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                         IN THE UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF OREGON

                                        EUGENE DIVISION


ROBERT D. AINSWORTH; TAMI L.
AINSWORTH; KARL G. FRINK; LUCINDA
A. FRINK; GORDON D. GRISWOLD;
ELAINE C. GRISWOLD; JOHN K. LINDSEY;
LINDA K. LINDSEY; WILLIAM E.
WHITAKER; SUZANNE R. WHITAKER,                                         No. 6:17-cv-01935-MC

               Plaintiffs,                                             OPINION AND ORDER

       v.

MARK ALLEN OWENBY; MICHELLE
ANNETTE PAGE; JENNY REBECCA
SILVEIRA; HOWARD DEE BROWN III;
WILLIAM WALTER TEMPLETON, JR.;
ELISHA TEMPLETON; BRYAN DAVID
PHILP; GUILD MORTGAGE COMPANY,

            Defendants.
__________________________________________

MCSHANE, Judge:

       This action comes before the Court on Defendants’ motion to dismiss for failure to state a

claim. The Court previously dismissed Plaintiffs’ claims without prejudice, and with leave to

amend, after it determined that their complaint failed to state a claim for violations of the Racketeer

Influence and Corrupt Practices Act (“RICO”), 18 U.S.C. §§ 1961-1968. Plaintiffs have since

filed an amended complaint in which they attempt to address the shortcomings identified in the

original pleading. Defendants now contend that the new complaint suffers from the same

deficiencies as the original. The Court agrees. Because Plaintiffs’ amended complaint still fails

to allege a compensable property injury under the civil RICO statute, and because the Court



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declines to exercise supplemental jurisdiction over the remaining state-law claims, Defendants’

motion to dismiss is GRANTED and this action DISMISSED with prejudice.

                                               BACKGROUND

         As the parties are familiar with the underlying facts, see Opinion and Order 2-4, ECF No.

48, the Court describes only material changes in the pleadings. There are two changes worth

noting in the First Amended Complaint (“FAC”). First, only two plaintiffs, Karl G. Frink and

Lucinda A. Frink (“Frink Plaintiffs”), maintain claims pursuant to the civil RICO statute. See FAC

¶¶ 62-68, ECF No. 53. The remaining plaintiffs abandon their civil RICO claims and assert only

state-law tort claims.1 See FAC ¶¶ 69-105. Second, the FAC adds new factual allegations about

the harms caused by Defendants’ racketeering activity.2 See FAC ¶ 30. In particular, the Frink

Plaintiffs allege that Defendants’ neighboring grow operation depressed the value of their property

and, as a direct result, prevented them from obtaining a larger home equity loan to finance the

construction of a perimeter fence in July 2017. FAC ¶¶ 30, 67.

         The Court dismissed Plaintiffs’ original Complaint on August 17, 2018. Opinion and

Order. In doing so, the Court held that Plaintiffs had failed to allege a compensable property injury

within the meaning of the civil RICO statute, id. at 10-20, but granted them leave to file an

amended complaint, id. at 22. On September 28, 2018, Plaintiffs filed their FAC. Defendants now

move to dismiss the FAC pursuant to Fed. R. Civ. P. 12(b)(6), arguing that the Frink Plaintiffs’

civil RICO claims suffer from the same deficiencies as those in the original pleading. Defs.’ Mot.




1
  In addition to the previously-asserted nuisance claims, see Compl. ¶¶ 88-112, the FAC adds new state-law claims by
John K. Lindsey, Linda K. Lindsey, and the Frink Plaintiffs for intentional infliction of emotion distress, see FAC ¶¶
94-105. The claims are also accompanied by new factual allegations. See FAC ¶¶ 28-29, 31, 36-38, 40-44. Since
this Opinion and Order deals exclusively with whether the Frink Plaintiffs state viable RICO claims, and the facts
supporting Plaintiffs’ new tort claims have no bearing on that analysis, details of those allegations are omitted.
2
  Defendants represent, and Plaintiffs do not contest, that Defendants sold their property on August 30, 2018. The
damages sought by Plaintiffs are therefore based exclusively on past harms.

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to Dismiss Pls.’ First Am. Compl. 2-4 (“Motion to Dismiss”), ECF No. 59. After briefing, the

matter is once again before the Court.

                                            STANDARD

       To survive a motion to dismiss under Fed. R. Civ. P. 12(b)(6), a complaint must contain

factual allegations sufficient to “state a claim to relief that is plausible on its face.” Bell Atlantic

Corp. v. Twombly, 550 U.S. 544, 570 (2007). A claim is plausible on its face when the factual

allegations allow a court to infer the defendant’s liability based on the alleged conduct. Ashcroft

v. Iqbal, 556 U.S. 662, 663 (2009). The factual allegations must present more than “the mere

possibility of misconduct.” Id. at 678. When considering a motion to dismiss, a court must accept

all allegations of material fact as true and construe those facts in the light most favorable to the

non-moving party, Burget v. Lokelani Bernice Pauahi Bishop Trust, 200 F.3d 661, 663 (9th Cir.

2000), but it is “not bound to accept as true a legal conclusion couched as a factual allegation,”

Twombly, 550 U.S. at 555. If a complaint is dismissed, the court must grant the plaintiff leave to

amend unless it “determines that the pleading could not possibly be cured by the allegation of other

facts.” Doe v. United States, 58 F.3d 494, 497 (9th Cir. 1995).

                                           DISCUSSION

       Plaintiffs fail to state a claim under RICO. As part of any civil RICO claim, a plaintiff

must plead, among other elements, an injury to her “business or property.” See 18 U.S.C. §

1964(c). In the Ninth Circuit, whether a plaintiff has alleged an injury to her property is a two-

part inquiry. Canyon Cty. v. Syngenta Seeds, Inc., 519 F.3d 969, 975 (9th Cir. 2008). First, the

alleged injury must be to a recognized property interest. Diaz v. Gates, 420 F.3d 897, 900 (9th

Cir. 2005) (en banc). Whether a specific injury is proprietary, as opposed to “personal” or

“emotional,” is “typically determined by reference to state law.” Id. Second, even if an injury is



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proprietary, it must also result in a “concrete financial loss.” Oscar v. Univ. Students Co-Operative

Ass’n, 965 F.2d 783, 785 (9th Cir. 1992) (en banc). A plaintiff fails to state a civil RICO claim if

she “mere[ly] [alleges] injury to a valuable intangible property interest.” Id. (internal quotation

marks and citations omitted). Similarly, a plaintiff who alleges a pecuniary loss, but from a

personal rather than proprietary injury, likewise fails to a state a claim under RICO. Berg v. First

State Ins., Co., 915 F.2d 460, 464 (9th Cir. 1990).

       Here, the Frink Plaintiffs contend that their diminished borrowing capacity, brought about

by a reduction in the fair market value of their home, constitutes a compensable property injury.

Pls.’ Resp. Br. 5, ECF No. 60. In its first Opinion and Order, the Court held that, although the

reduction in the fair market value of Plaintiffs’ properties was an injury to a recognized property

interest, that reduction alone did not give rise to a concrete financial loss. Opinion and Order 16-

20. Plaintiffs, the Court explained, were instead required to allege at least a “past or present intent

to rent, sell, or otherwise monetize their property interests.” Id. at 19. Drawing on this language,

Defendants argue that the Frink Plaintiffs allege no intent to rent or sell their land and that their

diminished borrowing capacity is “not a financial loss of any sort.” Motion to Dismiss 7-8. The

issue before the Court, as such, is whether the Frink Plaintiffs’ inability to obtain a larger home

equity loan transforms their otherwise intangible injury—i.e., the reduced fair market value of their

home—into one resulting in a concrete financial loss.

       It does not. Plaintiffs cite no authority in support of their position and, although the out-

of-circuit authority cited by Defendants is either inapposite to Plaintiffs’ theory of injury or

contrary to intervening Ninth Circuit precedent, it is inescapable that the Frink Plaintiffs’ financial

position is no worse than it would have been absent the racketeering activity. Specifically, in

receiving a smaller loan, the Frink Plaintiffs incurred less debt and—all else being equal—paid



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less interest based on the smaller principal. That is not a financial loss. Plaintiffs, for instance, do

not allege that they were charged a higher interest rate or otherwise offered the same loan on less

favorable terms, such that they were in a worse financial position than they would have been had

the fair market value of their home not been depressed. To the contrary, throughout the loan

period, the Frink Plaintiffs were in a better position than they otherwise would have been.

       Although the FAC also notes that the smaller loan prevented the Frink Plaintiffs from

building a “more secure and aesthetically pleasing” fence which “would have added more value”

to their property, FAC ¶ 30, Plaintiffs expressly disavow that any forgone return on their

investment would be relevant to whether they suffered a concrete financial loss, Pls.’ Resp. Br. 3,

6. Still, any forgone increase in the fair market value of the Frink Plaintiffs’ property stemming

from the difference between fences would be no less abstract or speculative—but certainly more

attenuated from Defendants’ racketeering activity—than the underlying drop in fair market value

already found insufficient by the Court. See Opinion and Order 16-20. In sum, the Frink Plaintiffs’

diminished borrowing capacity neither prevented them from realizing a capital gain (e.g., through

actual or attempted sale of their property or other investment opportunity) nor forced them to spend

additional funds (e.g., through the payment of a higher interest rate on their loan). They have, as

such, alleged no concrete financial loss and fail to state a claim under RICO.

                                          CONCLUSION

       Based on the foregoing, Defendants’ Motion to Dismiss Plaintiffs’ First Amended

Complaint, ECF No. 59, is GRANTED and this action DISMISSED with prejudice.

       IT IS SO ORDERED.

       DATED this 27th day of March, 2019.
                                                        /s/ Michael McShane_____
                                                        Michael J. McShane
                                                        United States District Judge

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